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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

 

 

 

United States of America )
V. )
Evita Latrenda Flanning ) Case No. . N A Zo A S
sPOMIZ1LAGA
) -
)
oe )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief,
On or about the date(s) of November 6, 2020 in the county of Hillsborough in the
Middle _ District of Florida __, the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 115 (a)(1)(B) Threats against all Federal employees

This criminal complaint is based on these facts:

As further described in the attached affidavit of U.S. Department of Homeland Security, Federal Protective Service
Inspector Carlos Walton.

M Continued on the attached sheet,

Male Li

Complainant’s signature

 

Inspector Carlos Walton, Federal Protective Service |

ALAdacr SubroileA by upaat anal OLA 42 Printed name and title

 

 
   

Foa Coan? 4.) ad Yl
Date: NOM 3, tot>

Judge's signature

City and state: J] Gre , Fico Aaa Pimanda_SernicneUusind ___

 
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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Carlos Walton, a Federal Officer with the U.S. Department of Homeland

Security (DHS), Federal Protective Service (FPS), Tampa office, Florida, being
duly sworn, do depose and state:
Officer Background and Purpose of Affidavit

1. Lam a law enforcement officer of the United States who is empowered by
law to conduct investigations and make arrests for offenses enumerated in
Title 18, United States Code, more specifically, to enforce Federal laws and
regulations for the protection of persons and property. I have been
employed as a law enforcement officer for more than twelve years and have
served as a Federal officer for the Federal Protective Service since March
2016. I am a graduate of the federal law enforcement training center.

2. This affidavit is provided for the limited purpose of establishing probable
cause for the issuance of a criminal complaint against Evita Latrenda
FLANNING (“FLANNING?”). It is not intended to include each and every
fact and detail known to me or to other law enforcement officers
surrounding this investigation. I have set forth only those facts that I believe
are necessary to establish probable cause. The information set forth in this
affidavit is based on: my personal participation in this investigation,

information provided to me by other individuals including other law
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enforcement officers, my review of records, reports, and documents related
to this investigation, and communications with other individuals who have
personal knowledge of the events and circumstances described herein.

3. This affidavit is submitted in support of a criminal complaint against
FLANNING. I respectfully submit the affidavit contains probable cause to
believe that on or about November 6, 2020, in Hillsborough county, in the
Middle District of F lorida, FLANNING did knowingly and willfully
threaten to assault a federal official, specifically employees of the Social
Security Administration, with intent to impede, intimidate, or interfere with
such federal official while the federal official was engaged in the
performance of their official duty, and to retaliate against such federal
official on account of the performance of their official duty, in violation of
Title 18, United States Code, Section 115(a){1)(B).

Probable Cause |

4, On or about Thursday, October 29, 2020 in the afternoon, the Social
Security Administration (“SSA”) office at 4010 Gunn Highway, Suite 100,
Tampa, Florida, 33618 received a telephone call from an individual who
self-identified herself as Evita FLANNING. The individual provided her

name and social security number.
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5 Based on records maintained by SSA, the name and social security number
provided by the caller match Evita Latrenda F LANNING, a Social Security
disability beneficiary residing in Tampa, Florida. FLANNING was found
disabled by SSA due to Mood and Affective Disorder in or around October
2002. FLANNING has been receiving both Disability Insurance Benefits
and Supplemental Security Income (“SSI”) since in or around December
2004. FLANNING has been appointed a representative payee to handle her
benefits.

6. In or around September 2020, SSA learned that FLANNING’S household
income had increased. FLANNING’S representative payee had not reported
this change in household income. SSA determined that, as a result of this
unreported income, FLANNING’s monthly SSI benefit would have been
reduced. SSA therefore assessed an overpayment on her account.

7. Due to the assessed overpayment, SSA began withholding FLANNING’s
monthly benefit payments. FLANNING received her last check from SSA in
or around September 2020.

8. FLANNING began calling the SSA office repeatedly, getting progressively
angrier, after her monthly benefit payments ceased.

9, The statements made by FLANNING and the SSA representatives in the

following paragraphs are not verbatim, word-for-word the telephone
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conversations but are approximations based on the recollections of the
involved SSA representatives.

10.During the October 29, 2020, telephone call to the SSA office, FLANNING
spoke with SSA Employee 1. SSA Employee 1 stated that FLANNING
called inquiring about unpaid benefits.

11.SSA Employee 1 advised FLANNING that she would not be receiving any
benefits due to a previous overpayment and the increase to her household
income. 8 SA Employee 1 stated that FLANNING got upset and called SSA
Employee 1 a b***h and asked to speak with a supervisor.

12. SSA Employee 1 advised FLANNING that she could call and speak with
SSA Employee 2.

Continuing this date:

13. SSA Employee 2 reported that later on October 29, 2020, she called the
number provided by F LANNING and spoke with FLANNING. SSA
Employee 2 stated that she identified herself to FLANNING and the reason
for the call. FLANNING put her husband, who is FLANNING’s
representative payee, on the phone.

' 14,FLANNING has a representative payee due to prior violent behavior toward
SSA employees and a previous physical altercation with an SSA Protective

Service Officer.
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15. During the telephone call, SSA Employee 2 stated that FLANNING’s
husband started to argue with SSA Employee 2 regarding the withholding of
the overpayment.

16. FLANNING’s husband gave the phone back to FLANNING. SSA
Employee 2 reported that FLANNING stated, “I’m going to come blow SSA
sh*t up.” SSA Employee 2 advised FLANNING that she cannot say things
like that towards a federal facility or federal employees. According to SSA
Employee 2, FLANNING responded that SSA Employee 2 had lied to her
and she was going to make SSA Employee 2 pay. ELANNIN G hung up,
ending the call, and SSA Employee 2 reported the incident to her supervisor.

17. On or about Monday, November 2, 2020, in the afternoon, Federal
Protective Service Officers Samuel BELL and I, Carlos WALTON, arrived
at 16024 Split Log Drive, Tampa, Florida, FLANNING’s last known address
according to SSA records.

18. Your affiant was able to look inside the window due to no covering on the
windows. There was no one living at the residence. Your affiant spoke with
the neighbors and was advised that FLANNING had been evicted a month
ago from the residence.

19. Your affiant contacted FLANNING via telephone at the number provided

by the SSA office. FLANNING answered and identified herself as Evita

 
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FLANNING. Your affiant advised FLANNING my reason for calling and
asked if she could give me an address to meet with her to discuss the
incident with the SSA office.

20. FLANNING stated, “why are you calling me?” and voluntarily added, “T
only said I should come blow they sh*t up.” Your affiant advised
FLANNING that I needed to meet her, to sit down, and get her side of the
story. FLANNING got upset and started screaming and yelling.

FLANNING ended the call by hanging up.

21. On or about Thursday, November 5, 2020, in the morning, SSA Employee 3
reported that she received a call from FLANNING. FLANNING
immediately started yelling and stated during the conversation “B*t*h I’m
going to beat your a**” FLANNING ended the call by hanging up. SSA
Employee 3 stated that FLANNING called several more times throughout
the day and made threats. SSA Employee 3 attempted to push the call trace
button to record the conversations; however, the call trace function was not
working.

22. On or about Friday, November 6, 2020, in the morning, FLANNING
showed up at the SSA office with her husband. FLANNING was seen on
video walking around the back of the building to the SSA employees’

parking and entrance area.
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23. FLANNING was unable to gain access to the building via the employee
entrance and then walked to the front of the building to the visitors’
entrance. The SSA Protective Service Officer on duty observed FLANNING
strike the door with force with her hand in a hammer strike motion and kick
the door with her foot while yelling that she was going to kick their a**; she
wants her money.

Continuing this date:

24, Later on November 6, 2020, Federal Protective Service Officers, including
your affiant, and Hillsborough County Sheriff's Office deputies arrived on
scene and discovered a female subject, later identified as Evita FLANNING,
on foot in the parking lot of the SSA office.

25. Your affiant advised FLANNING that she could not be on SSA property
due to her having received a letter from SSA stating that she was banned
from all SSA offices because of her prior behavior with SSA employees.

26. FLANNING was upset and stated that they are playing with her money and
she want her money today. FLANNNING stated that she showed up to the
office because SSA will not give her money owed to her and she was
coming to collect today. |

27.Your affiant issued FLANNING a Disorderly Conduct violation and

Hillsborough County Sherriff’s deputies issued FLANNING a trespass
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notice. FLANNING left the scene in a white Nissan Maxima, Florida Tag
(ITLU80), which vehicle had damage to the rear bumper.

28. On or about Friday, November 6, 2020, in the afternoon, FLANNING left a
message on SSA voicemail for SSA Employee 4. SSA Employee 4 emailed
your affiant a copy of the recording.

29. Your affiant played the recording and heard FLANNING state, “(SSA
Employee 4] you are acting like you don’t know me or my husband.” SSA
Employee 4 had handled her case in the past. ELANNING also said, “SSA is
playing with my money bi**h and I don’t care about the police or anybody,
f**k n*¥ge*r. I don’t have to catch you on property, I will catch you off
property, I mean that shit.” FLANNING went on to state “vou all keep
playing with my money, SSA is going to find out who the f**k I really am,
you p***y a**, n*gg*r.” FLANNING also can be heard on the voicemail
stating “[SSA Employee 4] and [SSA Employee 3] and other SSA
representatives are going to get it, I am not scared of the law and I am not
scared of you all.” FLANNING further stated, “you can hide your a**
behind there, I don’t have to come on your property f**k n*go*r remember

boo who is a mother f**k*r.” The call ended.
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30. On or about Friday, November 6, 2020, in the afternoon, SSA Employee 3
exited the SSA office and got into her vehicle to drop off mail in the FedEx
box located in the same parking lot as the SSA office.

31. SSA Employee 3 stated that she observed a white vehicle, parked as if to
conceal the vehicle, behind an electrical box in the parking lot of the SSA
office. SSA Employee 3 stated that as she proceeded to the FedEx box, the
white vehicle pulled behind her vehicle, tailgating her.

32. SSA Employee 3 stated that she pulled over to let the car pass, at which
time the white vehicle pulled alongside her vehicle with the window down.
SSA Employee 3 reported that a black, heavy-set female, whom she
recognized as FLANNING, yelled out the window and stated, “I know you
work for SSA; I’m going to beat you’re a** and the other SSA employees.”

33. SSA Employee 3 stated that she told FLANNING she was going to call the
police. FLANNING’s vehicle left the scene. SSA Employee 3 stated that
FLANNING was driving a white car with no bumper on the rear.

34, Your affiant performed a criminal history check on FLANNING. Your

affiant learned that FLANNING has several convictions for battery and is a
convicted felon. FLANNING also has a protective order against her out of

Orlando, Florida. Further, on September 4, 2020, prior to the threats
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described herein, FLANNING unsuccessfully attempted to purchase a
firearm.

35, FLANNING has had contact with law enforcement on several occasions
prior to this incident and regarding this incident. FLANNING ignored the
SSA office ban letter she received, and the Hillsborough County Sherriff’s
Office trespass notice.

Conclusion —

36. Your affiant respectfully submits that there is probable cause to believe that
Evita Latrenda FLANNING knowingly and willfully threatened to assault a
federal official, specifically employees of the Social Security
Administration, with intent to impede, intimidate, or interfere with such
federal official while the federal official was engaged in the performance of
their official duty, and to retaliate against such federal official on account of
the performance of their official duty, in violation of Title 18, United States

Code, Section 115(a)(1)(B).
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This completes my affidavit.

 

MW

‘Carlos Walton, Inspector
Federal Protective Service

Sworn to and subscribed before me OVV +b hip, oF...

This 13th day of November, 2020 SyAtonne cel
Kaa Ula)

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Aw Arnold Sansone

United States Magistrate Judge
